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                               UNITED STATES DISTRICT COURT

                                       DISTRICT OF MAINE

SUSAN JOHNSON, individually and on behalf of              )
her minor son B.L. , and on                               )
behalf of DERRICK THOMPSON, deceased.                     )
                                                          )
       Plaintiff                                          )
                                                          )
       v.                                                 )
                                                          )
CITY OF BIDDEFORD, BIDDEFORD                              )
POLICE DEPARTMENT, a Municipal                            )
Corporation organized and existing under                  )
the laws of the State of Maine; MAINE                     )
DEPARTMENT OF PUBLIC SAFETY,                              )
a state agency organized under the laws of                )
the State of Maine; JOHN E. MORRIS,                       )
individually and as the Commissioner of the               )
Maine Department of Public Safety, ROGER                  )
P. BEAPURE, individually and as Chief of                  )
Biddeford Police Department; EDWARD                       )
DEXTER, individually and as an employee of                )
the Biddeford Police Department; JACOB                    )
WOLTERBEEK, individually and as an                        )
employee of the Biddeford Police Department;              )
and JANE DOE(S),                                          )

       Defendants

            NOW COMES Plaintiff, Susan Johnson, by and through counsel, Kristine C. Hanly,
Esq. And complains against Defendant as follows:

                                        JURISDICTIONAL
       1. This action arises under 42 United States Code (U.S.C.) §§1983, 1985 and 1988; The First,
Fourth, Fifth, and Fourteenth Amendments to the United States Constitution; Article 1 Sections 1, 6
and 6-A of the Maine Constitution; 5 M.R.S.A. § 4682 (The Maine Civil Rights Act); 15 M.R.S.A. §
704; and 14 M.R.S.A. § 8101 et seq. (The Maine Tort Claims Act).

      2. This Honorable Court has original jurisdiction of Plaintiff's Complaint pursuant to 28 U.S.C.
§§ 1331 and 1343.

       3. This Honorable Court may exercise supplemental jurisdiction over related state law claims
pursuant to 28 U.S.C. § 1367.

      4. This Honorable Court wields jurisdiction over each Defendant herein pursuant to 14
M.R.S.A. § 704-A in that each Defendant is domiciled in the State of Maine.
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                                                  VENUE
        5. Venue is properly before this Court pursuant to 28 U.S.C. § 1391 and Rule 9(a) of the rules
of the United States District Court for the District of Maine in that all acts complained of occurred in
York County, Maine.

                                                 PARTIES
        6. Plaintiff, Susan Johnson is a citizen of the United States and a resident of Maine, residing in
Biddeford. Susan Johnson is a Plaintiff individually, and on behalf of Derrick Thompson, her deceased
son, as his representative. Finally she is a Plaintiff on behalf of her minor son, B.L.

       7. Defendant, Officer Edward Dexter, police officer, was at all times mentioned herein a duly
appointed and acting police officer of the police department of the city of Biddeford.

       8. At all times herein Defendant Officer Edward Dexter was acting in the capacity of an agent,
servant, and employee of the City of Biddeford and the State of Maine.

       9. Defendant, Officer Jacob Wolterbeek, police officer, was at all times mentioned herein a
duly appointed and acting police officer of the police department of the city of Biddeford.

       10. At all times herein Officer Jacob Wolterbeek was acting in the capacity of an agent,
servant, and employee of the City of Biddeford and the State of Maine.

        11. Defendant “Jane Doe”, or two separate female “Jane Does” were at all times mentioned
herein duly appointed and acting police officer or dispatch employee of Biddeford Police Department
and at all times herein were acting in such capacity as the agent, servant, and employees of said
agencies.

        12. The true names and capacities of Defendants captioned “Jane Doe” are presently unknown
to Plaintiff. The Plaintiff is informed and believes and based on such belief alleges that each of said
Defendants is responsible for the damages suffered by the Plaintiff.

        13. Defendant Chief Roger P. Beaupre at all times relevant was and is currently responsible for
training, supervision, and conduct of Defendant officers as more fully set forth below.

        14. Defendant Chief Roger P. Beaupre is further responsible for enforcing the regulations of
Biddeford Police Department, making and enforcing police department polices that protect the
constitutional rights of citizens, and for ensuring that the City of Biddeford police officers obey the
laws of the State of Maine and the United States of America.

       15. Defendant Commissioner John E. Morris is Commissioner of the Maine Department of
Public Safety.

        16. Defendant Commissioner John E. Morris was at all relevant times and still is responsible
for the implementing, developing, and monitoring of policies concerning the training, supervisions and
conduct of Defendants as more fully set forth below.

        17. Defendant Maine Department of Public Safety is a State agency organized under the laws
of the State of Maine. The Maine Department of Public Safety is responsible for training of officers
through the Criminal Justice Academy as well as responsible for overseeing the Regional
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Communications Centers that handle emergency dispatch calls.

       18. Plaintiff sues all the defendants in their individual, as well as official capacities, and all
governmental entities have been served with Plaintiff's Notice of claim, pursuant to the Maine Tort
Claims Act.

                                       STATEMENT OF FACTS

        19. Shortly before 6:00pm on December 29, 2012 Derrick Thompson called and requested
police assistance at 17 Sokokis Road, Biddeford, Maine.

      20. In his call Derrick Thompson indicated that his landlord (later identified as James Pak) was
making death threats to and pointing his finger like a gun at Derrick Thompson.

       21. Officers Dexter and Wolterbeek from Biddeford police department arrived and spent
approximately 40 minutes speaking with Derrick Thompson, Susan Johnson and James Pak in their
respective apartments.

         22. During his conversation with James Pak Officer Dexter and/or Wolterbeek witnessed Pak
making verbal threats about Derrick Thompson, Susan Johnson and/or Alivia Welch. Pak indicated he
was upset about the parking situation with his tenant, Susan Johnson, her son, Derrick Thompson and
Thompson's girlfriend, Alivia Welch. Officer Dexter and/or Wolterbeek spent significant time
discussing with Pak that landlord-tenant matters are civil in nature, and the officer cannot order
anybody to move their car. James Pak admitted to threatening to shoot Thompson, Johnson and/or
Welch. Officer Dexter and/or Wolterbeek responded by telling Pak that he can't make those types of
threats.

       23. James Pak's emotional state continued to heighten while speaking with Officer Dexter
and/or Wolterbeek. James Pak told the Officer that he had a gun and if the Officer didn't do something
about the parking “there is going to be a bloody mess” and that “they would see it in the news.”

       24. Neither responding officer searched for weapons in James Pak's apartment. Neither
responding officer arrested James Pak for the threats made to Derrick Thompson, Susan Johnson and/or
Alivia Welch. The Officers cleared the scene.

       25. Within minutes of the Officers leaving, James Pak had entered Susan Johnson's apartment
and shot Susan Johnson, Derrick Thompson and Alivia Welch.

       26. Derrick Thompson and Alivia Welch died as a result of the gunshots.

       27. Susan Johnson survived and suffered bodily injury. While she was awaiting rescue, an
unknown female officer or dispatch officer (“Jane Doe”) spoke with James Pak. Pak admitted to Jane
Doe that he had committed the shootings and that he was in his apartment and still armed with a gun.
Jane Doe told Pak that Susan Johnson was still alive.

        28. B.L. was in his brother Derrick's bedroom. He heard the shots, the victims screaming, and
the aftermath of the response.

       29. When Officers responded, B.L. was carried over the body of his brother, Derrick, Alivia
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Welch, and his mother, Susan Johnson. B.L. did not know whether any of his family had survived.

          30. Officers brought B.L. to a stranger's house where he was left for a period of time.

       31. Officers failed to identify the location of B.L. which led to B.L. 's father searching for him
while Susan Johnson was receiving treatment at the hospital.

          32. Eventually, an Officer returned B.L. to the police department and he was reunited with his
father.

      33. Members of the Biddeford Police Department failed to develop and/or follow appropriate
procedures to address threats from citizens.

      34. Members of the Biddeford Police Department failed to develop and/or follow appropriate
procedures to address the aftermath of a shooting.

                                               COUNT I
                                  VIOLATION OF 42 U.S.C. § 1985
       35. Plaintiffs herein incorporate each and every allegation and averments contained in
Paragraphs 1 through 34 as fully set forth herein.

       36. Defendants acted in concert to commit acts against the Plaintiff to deny the protections
guaranteed by the Fourth, Fifth, and Fourteenth Amendments to the United States Constitution.

          37. Defendants' actions inflicted a wrong and/or resulted in damages.

        38. Defendants' actions showed a deliberate, malicious, reckless or callous disregard of, or
indifference to, the rights of Plaintiffs.

        WHEREFORE, Plaintiffs respectfully pray that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

          d. Costs and attorneys fees to the extent allowable by law. See 42 U.S.C. §1988.

          e. Such further relief as the Court deems proper and just.

                                         COUNT II
                VIOLATION OF 42 U.S.C. §1983 -DEFENDANT EDWARD DEXTER

          39. Plaintiffs herein incorporate each and every allegation and averment contained in
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paragraphs 1 through 38 as fully set forth herein.

        40. Defendant Edward Dexter unreasonably and/or intentionally committed acts and/or
omissions while acting under color of state law that violated Plaintiffs' clearly established rights to
bodily integrity and their rights to pursue a claim for the deprivation of these rights as enumerated by
the Fourth Amendment to the United States constitution and Plaintiffs' analogous rights under the
Maine Constitution.

      41. A reasonable person would have known that the acts and/or omission committed by
Defendant Edward Dexter violated Plaintiff's rights as guaranteed by the Fourth, Fifth, and Fourteenth
Amendments to the United States Constitution.

       42. The unlawfulness of Defendant's actions and/or omissions were apparent at the time they
were committed in light of pre-existing law.

        43. Defendant's actions showed a deliberate, malicious, reckless or callous disregard of, or
indifference to, the rights of Plaintiffs.

        WHEREFORE, Plaintiffs respectfully pray that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law. See 42 U.S.C. §1988.

       e. Such further relief as the Court deems proper and just.

                                     COUNT III
           VIOLATION OF 42 U.S.C. §1983 -DEFENDANT JACOB WOLTERBEEK

       44. Plaintiffs herein incorporates each and every allegation and averment contained in
paragraphs 1 through 43 as fully set forth herein.

        45. Defendant Edward Dexter unreasonably and/or intentionally committed acts and/or
omissions while acting under color of state law that violated Plaintiffs' clearly established rights to
bodily integrity and her right to pursue a claim for the deprivation of these rights as enumerated by the
Fourth Amendment to the United States constitution and Plaintiff's analogous rights under the Maine
Constitution.

      46. A reasonable person would have known that the acts and/or omission committed by
Defendant Edward Dexter violated Plaintiff's rights as guaranteed by the Fourth, Fifth, and Fourteenth
Amendments to the United States Constitution.
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       47. The unlawfulness of Defendant's actions and/or omissions were apparent at the time they
were committed in light of pre-existing law.

        48. Defendant's actions showed a deliberate, malicious, reckless or callous disregard of, or
indifference to, the rights of Plaintiffs.

        WHEREFORE, Plaintiffs respectfully pray that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law. See 42 U.S.C. §1988.

       e. Such further relief as the Court deems proper and just.

                                      COUNT IV
            VIOLATION OF 42 U.S.C. § 1983 DEFENDANT-ROGER P. BEAUPRE


       49. Plaintiffs herein incorporate each and every allegation and averment contained in
paragraphs 1 through 48 as fully set forth herein.

       50. Upon information and belief, Defendant Chief Beaupre should have known that Defendants
Dexter, Wolterbeek and Jane Doe(s) were lacking the appropriate skills to deal with a violent citizen.

      51. Defendant Chief Beaupre failed to adequately supervise and train Defendants Dexter,
Wolterbeek and Doe(s) to reduce the risk of harm Defendants present to the public.

       52. Upon information and belief, any reasonably well-trained supervisor would have
recognized that Defendants, absent proper training regarding handling of volatile situations, would
cause harm to the public.

        53. Defendant Beauregard's conduct and/or inaction in supervising and training the Defendants
amounts to deliberate, reckless or callous disregard to the constitutional rights of others, including
Plaintiff.

        WHEREFORE, Plaintiffs respectfully pray that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.
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       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law. See 42 U.S.C. §1988.

       e. Such further relief as the Court deems proper and just.


                                       COUNT V
                VIOLATION OF 42 U.S.C. § 1983 DEFENDANT-JOHN MORRIS


       54. Plaintiffs herein incorporate each and every allegation and averment contained in
paragraphs 1 through 53 as fully set forth herein.

       55. Defendant John Morris was at all times mentioned herein responsible as the commissioner
of Maine Public Safety.

      56. Upon information and belief, Defendant Morris provided inadequate training of Defendants
Beaupre, Dexter, Wolterbeek and Doe(s) at the Maine Criminal Justice Academy.

       57. Upon information and belief, Defendant Morris provided inadequate training of Defendants
Doe(s) through the Regional Communication Center.

      58. A reasonable person would have known that the acts and/or omission committed by
Defendant Morris violated Plaintiff's rights as guaranteed by the Fourth, Fifth, and Fourteenth
Amendments to the United States Constitution.

       59. The unlawfulness of Defendant's actions and/or omissions were apparent at the time they
were committed in light of pre-existing law.

        60. Defendant's actions showed a deliberate, malicious, reckless or callous disregard of, or
indifference to, the rights of Plaintiff.

        WHEREFORE, Plaintiffs respectfully pray that this Honorable Court issue judgment in favor
of Plaintiffs and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.
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       d. Costs and attorneys fees to the extent allowable by law. See 42 U.S.C. §1988.

       e. Such further relief as the Court deems proper and just.

                                               COUNT VI
                            WRONGFUL DEATH 18-A M.R.S.A. §2-804
       61. Plaintiffs herein incorporates each and every allegation and averment contained in
paragraphs 1 through 60 as fully set forth herein.

       62. Plaintiff Johnson is the personal representative of Derrick Thompson.

     63. Defendants' aforementioned actions and/or omissions caused the death of Derrick
Thompson.

        WHEREFORE, Plaintiffs respectfully pray that this Honorable Court issue judgment in favor
of Plaintiffs and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law.

       e. Such further relief as the Court deems proper and just.

                                    COUNT VII
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       64. Plaintiff herein incorporates each and every allegation and averment contained in
paragraphs 1 through 63 as fully set forth herein.

        65. Defendants have intentionally or recklessly inflicted severe emotional distress upon Derrick
Thompson, prior to his death, or knew it was certain or substantially certain that such distress would
result from their conduct.

      66. Defendants' conduct was so extreme and outrageous as to exceed the bounds of decency
and must be regarded as atrocious and utterly intolerable in a civilized community.

       67. Defendants' actions caused Plaintiff emotional distress that is so severe that no reasonable
person should be expected to endure it.


       WHEREFORE, Plaintiff respectfully prays that this Honorable Court issue judgment in favor
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of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law.

       e. Such further relief as the Court deems proper and just.

                                              COUNT VIII
                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
       68. Plaintiff herein incorporates each and every allegation and averment contained in
paragraphs 1 through 67 as fully set forth herein.

        69. The Defendants owed a duty to the Plaintiff, Derrick Thompson because a special
relationship existed between Defendants and Plaintiff and/or Defendants have committed another tort.

       70. Defendants breached their duty to Plaintiff.

       71. Plaintiff suffered severe emotional distress that is so severe that no reasonable man should
be expected to endure it.

       72. Defendants' conduct caused the Plaintiff’s emotional distress.

        WHEREFORE, Plaintiff respectfully prays that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law.

       e. Such further relief as the Court deems proper and just.



                                               COUNT IX
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                                     ASSAULT AND BATTERY

       73.Plaintiff herein incorporates each and every allegation and averment contained in paragraphs
1 through 72.

        74. Defendants' aforementioned actions and/or omissions caused Plaintiff Susan Johnson to
sustain injuries from her gunshot wounds.

        WHEREFORE, Plaintiff respectfully prays that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law.

       e. Such further relief as the Court deems proper and just.

                                    COUNT X
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       75. Plaintiff herein incorporates each and every allegation and averment contained in
paragraphs 1 through 74 as fully set forth herein.

      76. Defendants have intentionally or recklessly inflicted severe emotional distress upon Susan
Johnson, or knew it was certain or substantially certain that such distress would result from their
conduct.

      77. Defendants' conduct was so extreme and outrageous as to exceed the bounds of decency
and must be regarded as atrocious and utterly intolerable in a civilized community.

       78. Defendants' actions caused Plaintiff, Susan Johnson, emotional distress that is so severe that
no reasonable person should be expected to endure it.

        WHEREFORE, Plaintiff respectfully prays that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.
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       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law.

       e. Such further relief as the Court deems proper and just.

                                               COUNT XI
                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
       79. Plaintiff herein incorporates each and every allegation and averment contained in
paragraphs 1 through 78 as fully set forth herein.

        80. The Defendants owed a duty to the Plaintiff, Susan Johnson because a special relationship
existed between Defendants and Plaintiff and/or Defendants have committed another tort.

       81. Defendants breached their duty to Plaintiff.

       82. Plaintiff suffered severe emotional distress that is so severe that no reasonable man should
be expected to endure it.

       83. Defendants' conduct caused the Plaintiff’s emotional distress.

        WHEREFORE, Plaintiff respectfully prays that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law.

       e. Such further relief as the Court deems proper and just.

                                    COUNT XII
                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       84. Plaintiff herein incorporates each and every allegation and averment contained in
paragraphs 1 through 83 as fully set forth herein.

       85. Defendants have intentionally or recklessly inflicted severe emotional distress upon B.L., or
knew it was certain or substantially certain that such distress would result from their conduct.

      86. Defendants' conduct was so extreme and outrageous as to exceed the bounds of decency
and must be regarded as atrocious and utterly intolerable in a civilized community.
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       87. Defendants' actions caused Plaintiff emotional distress that is so severe that no reasonable
person should be expected to endure it.

        WHEREFORE, Plaintiff respectfully prays that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law.

       e. Such further relief as the Court deems proper and just.

                                              COUNT XIII
                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
       88. Plaintiff herein incorporates each and every allegation and averment contained in
paragraphs 1 through 87 as fully set forth herein.

      89. The Defendants owed a duty to the Plaintiff, B.L., because a special relationship existed
between Defendants and Plaintiff and/or Defendants have committed another tort.

       90. Defendants breached their duty to Plaintiff.

       91. Plaintiff suffered severe emotional distress that is so severe that no reasonable man should
be expected to endure it.

       92. Defendants' conduct caused the Plaintiff’s emotional distress.

        WHEREFORE, Plaintiff respectfully prays that this Honorable Court issue judgment in favor
of Plaintiff and against Defendants, and award Plaintiff the following relief:

        a. An amount of damages deemed reasonable by the trier of fact sufficient to compensate
Plaintiff.

       b. Punitive damages in an amount sufficient to punish and deter Defendants in the future from
engaging in this form of conduct.

       c. An award of pre-judgment interest from the earliest date allowed by law at the highest rate
allowable by law.

       d. Costs and attorneys fees to the extent allowable by law.
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       e. Such further relief as the Court deems proper and just.

                                           JURY REQUEST

       Plaintiff hereby requests a Jury Trial.

Dated at Portland, Maine, this 10th day of July, 2017.



                                                           /s/ Kristine C. Hanly, Maine Bar 4500
                                                           ___________________________________
                                                           Kristine C. Hanly, Esq.
                                                           Attorney for Susan Johnson

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